Case: 22-1236   Document: 26     Filed: 12/14/2022   Page: 1



                    No. 22-1236


       In the United States Court of Appeals
               for the Sixth Circuit



      United States of America,
                               Plaintiff-Appellee,

                          v.


                Leron Liggins,
                               Defendant-Appellant.


 On Appeal from the United States District Court
       for the Eastern District of Michigan
 No. 2:18-cr-20071 (Hon. Stephen J. Murphy, III)


            Brief for the United States



                                 Dawn N. Ison
                                 United States Attorney

                                 Erin S. Shaw
                                 Assistant United States Attorney
                                 Eastern District of Michigan
                                 211 West Fort Street, Suite 2001
                                 Detroit, MI 48226
                                 (313) 226-9182
                                 erin.shaw@usdoj.gov
               Case: 22-1236         Document: 26          Filed: 12/14/2022         Page: 2




                                       Table of Contents

Table of Authorities ................................................................................. iii

Oral Argument Is Unnecessary .............................................................. vii

Introduction ............................................................................................... 1

Issues Presented........................................................................................ 4

Statement of the Case ............................................................................... 6

A.      Liggins sends suitcases full of money and drugs to airports
        all over the country. ......................................................................... 6

B.      Liggins fires three attorneys, walks back his commitment
        to plead guilty in two different cases, and moves for recusal
        of the judge the night before trial. ................................................. 10

C.      The jury convicts Liggins. .............................................................. 15

D.      The district court denies Liggins’s motion for new trial and
        sentences him at the bottom of the guidelines. ............................. 17

Summary of the Argument ..................................................................... 21

Argument ................................................................................................. 23

I.      The district court did not abuse its discretion in denying
        Liggins’s last-minute motion for recusal based on isolated
        comments from almost two years earlier....................................... 23

II.     Liggins is not entitled to a new trial based on his post-trial
        suppression arguments. ................................................................. 35

        A.      Dehaven Murphy was caught because of a tip—not
                because of the Jiminez wiretap............................................. 38

        B.      The 2021 trial testimony was sufficiently attenuated
                from the 2015 wiretap. .......................................................... 45
                                                      i
               Case: 22-1236         Document: 26         Filed: 12/14/2022         Page: 3




III.    The district court did not plainly err in admitting Murphy’s
        responses to Liggins on Instagram. ............................................... 50

IV.     The district court did not violate Liggins’s trial rights by
        forbidding either side from discussing guns during
        summation. ..................................................................................... 56

V.      Liggins’s ineffective-assistance-of-counsel claims should be
        left for another day. ........................................................................ 62

Conclusion ............................................................................................... 63

Certificate of Compliance with Rule 32(a) .............................................. 64

Certificate of Service ............................................................................... 65

Relevant District Court Documents........................................................ 66




                                                     ii
             Case: 22-1236        Document: 26        Filed: 12/14/2022     Page: 4




                                  Table of Authorities

Cases

Burley v. Gagacki, 834 F.3d 606 (6th Cir. 2016) .................................... 23

Davis v. Alaska, 415 U.S. 308 (1974) ................................................ 60, 61

Herring v. New York, 422 U.S. 853 (1975) .............................................. 60

Hudson v. Michigan, 547 U.S. 586 (2006) ........................................ 38, 45

Keilholtz v. United States, No. 22-5103, 2022 WL 3221935
     (6th Cir. July 21, 2022) .................................................................. 41

Liteky v. United States, 510 U.S. 540 (1994) .................................. passim

Matter of Searches & Seizures Conducted on Oct. 2, & 3, 1980,
     665 F.2d 775 (7th Cir. 1981) .......................................................... 43

Puckett v. United States, 556 U.S. 129 (2009) ............................ 42, 51, 58

Segura v. United States, 468 U.S. 796 (1984) ......................................... 45

U.S. ex rel. Williams v. Renal Care Grp., Inc.,
      696 F.3d 518 (6th Cir. 2012) .................................................... 33, 34

United States v. Adams, 722 F.3d 788 (6th Cir. 2013) ........................... 24

United States v. Akridge, 346 F.3d 618 (6th Cir. 2003).................... 47, 49

United States v. Anderson, 76 F.3d 685 (6th Cir. 1996) ......................... 43

United States v. Antar, 53 F.3d 568 (3d Cir. 1995) ................................ 28

United States v. Bankston, 820 F.3d 215 (6th Cir. 2016) ....................... 35

United States v. Blood, 435 F.3d 612 (6th Cir. 2006) ............................. 29

United States v. Ceccolini, 435 U.S. 268 (1978) .............................. passim

                                                iii
             Case: 22-1236       Document: 26       Filed: 12/14/2022      Page: 5




Cases

United States v. Chavez, 951 F.3d 349 (6th Cir. 2020)........................... 56

United States v. Clariot, 655 F.3d 550 (6th Cir. 2011) ..................... 38, 44

United States v. Cromer, 389 F.3d 662 (6th Cir. 2004) .......................... 27

United States v. Dandy, 998 F.2d 1344 (6th Cir. 1993).................... 24, 54

United States v. Davis, 15 F.3d 526 (6th Cir. 1994) ............................... 36

United States v. Dominguez Benitez, 542 U.S. 74 (2004) ....................... 51

United States v. Dunnican, 961 F.3d 859 (6th Cir. 2020) ................ 37, 52

United States v. Elmore, 18 F.4th 193 (6th Cir. 2021) ........................... 45

United States v. Evans, 883 F.2d 496 (6th Cir. 1989) ............................ 54

United States v. Farmer, 38 F.4th 591 (7th Cir. 2022)........................... 36

United States v. Figueredo-Diaz, 718 F.3d 568
     (6th Cir. 2013) .............................................................. 38, 39, 41, 44

United States v. Giordano, 416 U.S. 505 (1974) ..................................... 46

United States v. Gray, 491 F.3d 138 (4th Cir. 2007) .............................. 47

United States v. Harrison, ___ F.4th ___, No. 21-6146,
     2022 WL 17348750 (6th Cir. Dec. 1, 2022) .............................. 52, 53

United States v. Henderson, 626 F.3d 326 (6th Cir. 2010) ..................... 52

United States v. Hickman, 592 F.2d 931 (6th Cir. 1979) ....................... 59

United States v. Hynes, 467 F.3d 951 (6th Cir. 2006) ............................ 59

United States v. Jacob, 377 F.3d 573 (6th Cir. 2004) ....................... 52, 54

United States v. Leonardi, 623 F.2d 746 (2d Cir. 1980) ......................... 48

                                               iv
             Case: 22-1236       Document: 26       Filed: 12/14/2022     Page: 6




Cases

United States v. Marcus, 560 U.S. 258 (2010) ........................................ 51

United States v. Morrow, 977 F.2d 222 (6th Cir. 1992) .......................... 29

United States v. Munoz, 605 F.3d 359 (6th Cir. 2010) ..................... 36, 37

United States v. Musaibli, No. 22-1013, 2022 WL 4138327
     (6th Cir. Sept. 13, 2022) ........................................................... 25, 33

United States v. Nelson, 922 F.2d 311 (6th Cir. 1990) ........................... 24

United States v. Obiukwu, 17 F.3d 816 (6th Cir. 1994) ................... 35, 36

United States v. O'Dell, 805 F.2d 637 (6th Cir. 1986) ...................... 42, 43

United States v. Oldfield, 859 F.2d 392 (6th Cir. 1988) ......................... 36

United States v. Pierce, 62 F.3d 818 (6th Cir. 1995)......................... 36, 37

United States v. Rice, 478 F.3d 704 (6th Cir. 2007) ............................... 46

United States v. Rodriguez-Lopez, 565 F.3d 312 (6th Cir. 2009) ..... 51, 53

United States v. Sachs, 801 F.2d 839 (6th Cir. 1986) ............................. 36

United States v. Sands, 815 F.3d 1057 (7th Cir. 2015) .......................... 36

United States v. Smith, 546 F.2d 1275 (5th Cir. 1977) .......................... 43

United States v. Smith, 749 F.3d 465 (6th Cir. 2014) ...................... 42, 43

United States v. Smith, 928 F.2d 740 (6th Cir. 1991) ............................ 29

United States v. Soto, 794 F.3d 635 (6th Cir. 2015) ............................... 37

United States v. Stark, 758 F. App’x 518 (6th Cir. 2019) ....................... 41

United States v. Sweets, 526 F.3d 122 (4th Cir. 2007) ........................... 47


                                               v
              Case: 22-1236         Document: 26         Filed: 12/14/2022       Page: 7




Cases

United States v. Tucker, 90 F.3d 1135 (6th Cir. 1996) ........................... 62

United States v. VanDemark, 39 F.4th 318 (6th Cir. 2022) ................... 45

United States v. Wac, 498 F.2d 1227 (6th Cir. 1974).............................. 46

United States v. White, 746 F.2d 426 (8th Cir. 1984) ............................. 48

United States v. Williams, 615 F.3d 657 (6th Cir. 2010) .................. 46, 47

United States v. Woods, 711 F.3d 737 (6th Cir. 2013) ............................ 37

United States v. Wright, 343 F.3d 849 (6th Cir. 2003) ........................... 51

Utah v. Strieff, 579 U.S. 232 (2016) ........................................................ 44

Statutes

18 U.S.C. § 924(c) ............................................................................ passim

28 U.S.C. § 2255 ...................................................................................... 63

Rules

Fed. R. Crim. P. 12(b)(3) ......................................................................... 35

Fed. R. Crim. P. 12(c) .............................................................................. 35

Fed. R. Crim. P. 33(a) .............................................................................. 36

Fed. R. Evid. 801(a) ................................................................................. 51

Fed. R. Evid. 801(d) ........................................................................... 50, 52




                                                   vi
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 8




                   Oral Argument Is Unnecessary

     This is an appeal following a short jury trial. Because the

defendant’s arguments are foreclosed by precedent, the record, and the

deferential standards of review, oral argument is unnecessary.




                                   vii
          Case: 22-1236   Document: 26   Filed: 12/14/2022   Page: 9




                              Introduction

     The same month his parole was terminated for armed robbery,

Leron Liggins sent almost $37,000 to Phoenix in his checked luggage to

repay a drug debt. A month and a half later, one of his couriers was

arrested at the Detroit airport with over 330 grams of heroin in her

checked suitcase. The following Christmas, TSA agents in Louisville

caught Liggins with a checked roller bag full of tramadol—a cutting

agent and Schedule IV controlled substance in its own right. Given that

evidence, it did not take the jury very long to convict Liggins of drug

offenses here, and this Court should affirm.

     First, the district court’s intemperate comments at a pretrial

hearing did not require recusal on the morning of trial two years later.

The district court’s frustrations were well justified by Liggins’s

conduct—most notably, Liggins’s repeated attempts to delay the

proceedings by firing his attorneys and strategically flip-flopping on

whether he intended to plead guilty. And although the district court

should have chosen its words more carefully, none of the challenged

comments occurred before the jury, and the record establishes that the

                                     1
          Case: 22-1236   Document: 26   Filed: 12/14/2022   Page: 10




district court treated Liggins fairly throughout trial and sentencing.

Thus, as is “ordinarily” the case, the “hostile” judicial remarks at the

pretrial hearing did “not support a bias or partiality challenge,” because

they did not “reveal such a high degree of favoritism or antagonism as

to make fair judgment impossible.” Liteky v. United States, 510 U.S.

540, 555 (1994).

     Liggins’s belated suppression argument concerning a state

wiretap targeting his testifying co-conspirator, Luz Jiminez, faces

similar obstacles. For one thing, Liggins has never demonstrated good

cause for failing to raise this argument before trial. And although the

government ultimately agreed to self-suppress the wiretap’s contents,

none of the trial evidence was so closely derived from the wiretap as to

justify suppression. Dehaven Murphy—the courier arrested at the

Detroit airport with Liggins’s heroin in her luggage—was “caught

because of a tip,” not because of the wiretap. Moreover, she and Jiminez

each testified of their own free-will, six years after the wiretap. The

Supreme Court has long admonished courts to be wary of excluding

free-will testimony of live witnesses. United States v. Ceccolini, 435 U.S.



                                     2
          Case: 22-1236   Document: 26   Filed: 12/14/2022   Page: 11




268, 279 (1978). The district court did not abuse its discretion when it

followed that precedent, and denied Liggins’s motion for new trial.

     Liggins failed to raise his remaining appellate arguments below,

and he cannot establish plain error—or any error at all. The district

court properly admitted Murphy’s responses to Liggins on Instagram

because they provided context for Liggins’s own party admissions. And

the district court did not violate Liggins’s trial rights when it prohibited

both sides from commenting about some uncharged guns that the police

recovered from a house where Liggins was present.

     The judgment should be affirmed.




                                     3
           Case: 22-1236   Document: 26   Filed: 12/14/2022   Page: 12




                             Issues Presented
I.     Recusal. Liggins filed a motion for recusal the night before trial

started, based on isolated comments made nearly two years prior. Did

the district court act within its discretion in denying the motion?

II.    Motion for New Trial. Liggins filed a motion for a new trial based

on his post-trial claim that evidence should have been suppressed, when

that evidence was not causally connected to the improperly authorized

wiretap, or else was the product of the testifying witness’s own free will.

Did the district court properly deny the motion?

III.   Hearsay. Liggins did not object to the admission of Murphy’s

responses to Liggins on Instagram that provided context for Liggins’s

party admissions. Did the district court commit plain error when it

admitted them into evidence?

IV.    Limitation on Closing Argument. Liggins—and not Jiminez—was

present when police seized guns while executing a search warrant in an

unrelated case at her house. Did the district court commit plain error

when it prohibited both parties from discussing these guns during

closing argument?



                                      4
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 13




V.   Ineffective Assistance. Should the Court review Liggins’s various

ineffective-assistance claims on direct appeal, or should it follow the

usual practice and require Liggins to raise them on collateral review?




                                     5
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 14




                         Statement of the Case

A.   Liggins sends suitcases full of money and drugs to airports all over
     the country.

     Liggins ran a cross-country heroin business.

     Sometimes, he used couriers, like his friend from high school,

Dehaven Murphy. (R.133: Tr., 1147, 1149, 1153, 1204). In December

2015, ATF in Detroit got a tip that Murphy was scheduled to fly from

Detroit to Phoenix on American Airlines the next day, and was believed

to have 300 grams of heroin. (R.116-5: Ex., 704). Investigators pulled

her checked suitcase from the plane’s hold, and a drug detection dog

alerted positively on it. (R.133: Tr., 1117, 1123). When confronted with

this information, she gave investigators consent to search it. (Id., 1124,

1154). Her bag contained over 330 grams of heroin, wrapped tightly in

plastic wrap, and hidden in towels. (Id., 1127, 1136, 1145, 1146).

Murphy was arrested. (Id., 1129, 1155).

     She admitted “taking the bag because [Liggins] told [her she]

could make some money if [she] dropped the bag off in Arizona.” (Id.,

1149). Another co-conspirator confirmed that Liggins was trying to




                                     6
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 15




“return” this batch of heroin because it was “no good,” and “nobody

wanted to pay for it.” (R.134: Tr., 1284–85).

     Liggins similarly paid Murphy $1,000 or $1,500 to fly with a

checked duffel bag to California around Thanksgiving. (R.133: Tr.,

1166–69). Murphy believed that it contained money. (Id., 1166). Once in

California, Murphy saw Liggins exchange that same duffel bag with a

man at a hotel. (Id., 1168). She would pick up or drop off people, money,

and phones when Liggins asked, too. (Id., 1174).

     Murphy decided to work with law enforcement. As part of her

cooperation, she made several recorded phone calls with Liggins.

(R.133: Tr., 1158–62, 1165, 1176–78, 1188–89; Gov. Exs. 9–11 (audio

recordings) (on file with the Sixth Circuit clerk’s office)). Liggins told

Murphy that it was his fault that she was caught, because he should

have told her to fly either very early in the morning or very late at

night. (Gov. Ex. 10). He was concerned that he was in the same boat

that she was, because she had all of his information, so he told her to

delete her social media and change her phone number. (Gov. Exs. 9–11).

He told her that they had a lawyer for her. (Gov. Exs. 9, 10). He asked

her the names of the officers, and what they asked her—including
                                      7
         Case: 22-1236   Document: 26   Filed: 12/14/2022   Page: 16




whether she gave them any names. (Gov. Exs. 10, 11). He even hung up

on her at one point, worried that he was being recorded. (Id.).

     In an effort to send “money and drugs” cross-country and avoid

“get[ting] caught,” Liggins was also fond of the “check and miss”

technique—where drug dealers “check in the bag and they don’t get on

the airplane.” (R.134: Tr., 1280). Then, when the bag arrives on the

carousel at the destination airport, someone else comes to collect the

bag on the drug dealer’s behalf.

     Almost as soon as Liggins was released from parole after serving a

substantial prison sentence for robbing a McDonald’s with a sawed-off

shotgun, (R.118: PSR, 724 (¶45)), he was checking and missing. The

same month his parole was terminated, Liggins bought himself a plane

ticket from Detroit to Phoenix, sent almost $37,000 cash in his checked

luggage, and then didn’t board the flight. (R.134: Tr., 1228, 1255).

Investigators at the Phoenix airport saw a woman retrieve Liggins’s

suitcase from the baggage carousel, look around seeming “nervous,” and

then abandon Liggins’s bag and walk out of the terminal. (Id., 1228–30).

They collected the luggage, obtained a warrant to search it, and seized

the money inside. (Id., 1231–33, 1253–55).
                                    8
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 17




     Liggins called the airport looking for his suitcase. (Id., 1235).

When his call was transferred to the police sergeant supervising the

seizure, Liggins hung up. (Id., 1237). Liggins then arrived in Phoenix

the following day. (Id., 1256). He agreed to speak to investigators at the

airport about his seized bag. Liggins admitted packing it, putting it on

the flight, and missing the flight. (Id., 1257). Liggins also allowed

investigators to search the two pieces of checked luggage that he

brought from Detroit. (Id., 1258). One suitcase contained nothing but 14

or 15 towels. (Id., 1258–59).

     About a year after Murphy was caught, officials at the Louisville,

Kentucky airport detected a white powdery substance, packed with

towels, in Liggins’s checked luggage during the baggage-screening

process. (Id., 1334, 1345). At first, they thought it was cocaine. (Id.,

1337). But it turned out to be tramadol. (Id.). Tramadol is a Schedule IV

narcotic commonly used as a cutting agent. (Id., 1337, 1365). Liggins

admitted that he paid cash for his plane ticket and packed his own bag.

(Id., 1343–44). Along with his personal iPhone and tablet, Liggins was

carrying four additional flip phones, over $8,300 cash, and yet more

towels. (Id., 1345–46).
                                      9
          Case: 22-1236    Document: 26    Filed: 12/14/2022   Page: 18




B.   Liggins fires three attorneys, walks back his commitment to plead
     guilty in two different cases, and moves for recusal of the judge the
     night before trial.

     In early 2018, a grand jury in the Eastern District of Michigan

indicted Liggins for a drug conspiracy. (R.1: Indictment, 1). He retained

attorney Marlon Evans. (R.10: Appearance, 14).

     At the time of his arrest in Detroit, Liggins had already been

indicted in the Western District of Kentucky for drug charges stemming

from the seizure at the Louisville airport. (18-20182: R.1: Consent to

Transfer, 9). Mr. Evans represented Liggins in the Kentucky case too.

(Id., 10). With Mr. Evans’s help, Liggins requested a Rule 20 transfer so

that his Kentucky case could be transferred to Michigan for guilty plea

and sentencing. (Id., 1). Liggins’s request was approved, and the order

to transfer his case was entered. (Id.). Liggins’s transferred case (18-

20182) was ultimately assigned to the same judge in the Eastern

District of Michigan as Liggins’s conspiracy case (18-20071). (18-20182:

R.7: Reassignment Order, 25). Mr. Evans continued to represent

Liggins in both matters.

     But when the time came, Liggins declined to go through with his

guilty plea in the transferred Kentucky case. Instead, he requested
                                      10
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 19




several adjournments to explore a global resolution of both matters.

(R.19: Stipulation, 41; R.20: Stipulation, 46; R.21: Stipulation, 52; R.28:

Stipulation, 137; R.32: Stipulation, 152). To help Liggins weigh his

options, the district court granted Liggins’s “unusual” request to order

the probation department to prepare a preliminary presentence report.

(R.128: Tr., 818). But even after he got his report, Liggins was still

equivocating.

     Then Liggins sent handwritten documents to the district court

seeking to terminate Mr. Evans. (R.33: Letter, 157: R.34: Letter, 158).

Mr. Evans filed a motion to withdraw as counsel. (R.35: Motion, 161).

The district court granted the motion, and Joseph R. Arnone was

appointed from the CJA panel to represent Liggins. (R.38: Order, 169–

70; R.39: Appointment Order, 171; R.129: Tr., 3–7).

     After Mr. Arnone requested more time to go over the discovery

with Liggins, the case was set for trial in September 2019. (R.127: Tr.,

805–06; R.40: Order, 177). At the final pretrial conference in early

September, Liggins rejected the government’s plea offer and requested

to proceed to trial. (R.130: Tr., 836–37). Around a week later, however,

Liggins changed course and indicated his intent to plead guilty. (R.49:
                                     11
          Case: 22-1236   Document: 26     Filed: 12/14/2022   Page: 20




Stipulation, 217). Based on Liggins’s representations, the trial was

cancelled, and a change of plea hearing was scheduled for what would

have been the first day of trial. (Id.). In anticipation of his guilty pleas,

Liggins was arraigned on a superseding information in the Kentucky

case (correcting the drug-type as tramadol), and also on a superseding

indictment in the Michigan case. (R.47: Audio file of arraignments;

R.48: Acknowledgment, 215; R.42: First Superseding Indictment, 180–

82).

       But Liggins again reversed course, and did not plead guilty as

scheduled. (R.49: Stipulation, 217). Then, he sent more handwritten

documents to the district court, this time seeking to terminate Mr.

Arnone. (R.51: Letter, 222–23). Like his predecessor, Mr. Arnone also

moved to withdraw. (R.52: Motion, 226–27). Mr. Arnone referenced

Liggins’s about-face on pleading guilty. (Id., 226). Mr. Arnone also

explained that Liggins appeared to believe that Mr. Arnone was

colluding with the prosecutors, and “asked that Mr. Arnone Subpoena

information not discoverable under Rule 16.” (Id., 226–27).

       At the hearing on Mr. Arnone’s motion to withdraw, the district

court voiced concern over Liggins’s pattern of problems working with
                                      12
           Case: 22-1236   Document: 26     Filed: 12/14/2022   Page: 21




counsel. The judge explained his own experiences with attorneys Evans

and Arnone, noting that “we’re talking about two of the very finer

lawyers in the district.” (R.80: Tr., 394). But Liggins “apparently

couldn’t get along” with Mr. Evans and now also “complains about the

performance of Arnone.” (Id., 393, 395).

      The district court was also upset about being “misled” by Liggins

and “getting the runaround” from him—because Liggins kept reversing

course about whether to plead guilty or go to trial. (Id., 395, 396). The

district court later recounted that Liggins “was acting in a manner

which was frankly obstructionist and making me mad.” (R.132: Tr.,

1063). Believing that Liggins was “playing games with the Court,” the

district court said of Liggins’s actions:

      This guy has got my attention, Mr. Arnone. What do you
      want me to do? This guy looks like a criminal to me. This is
      what criminals do. This isn’t what innocent people, who
      want a fair trial do.

(R.80: Tr., 397). Mr. Arnone responded that he “can’t argue with” the

court’s “logic.” (Id.).

      After the district court adjourned the proceeding, Liggins wanted

the last word. He announced: “I’m going to get you off my case. That’s


                                      13
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 22




what I’m going to do.” (Id., 398). It is not clear if Liggins directed his

outburst at the court or Mr. Arnone. The district court ultimately

granted Mr. Arnone’s motion to withdraw. (R.56: Order, 250).

      Attorney John W. Brusstar was up next. (R.55: Appearance, 247).

He lasted about 13 months. But Liggins fired him too. (R.131: Tr., 851,

864). Martin Crandall replaced Mr. Brusstar in March 2021. (R.71:

Appearance, 354). Trial was then reset again for mid-October 2021.

      The night before trial, Liggins filed a motion for recusal of trial

judge. (R.94: Motion, 470; R.132: Tr., 881). The motion alleged bias,

based on the judge’s remarks at the hearing 21 months earlier, on Mr.

Arnone’s motion to withdraw. (R.94: Motion, 470). The next morning,

before beginning jury selection, the district judge said that he

appreciated the motion because it would give him “an opportunity to

clear up a few things that ha[d] been bothering [him] for a few months.”

(R.132: Tr., 881). He informed the parties that he was denying the

motion, but would provide his reasoning later, because the jurors were

already assembled and waiting. (R.96: Order, 494; R.132: Tr: 881).

      In explaining his ruling, the district judge expressly apologized to

Liggins twice, cited the Supreme Court’s seminal decision in Liteky v.
                                     14
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 23




United States, 510 U.S. 540 (1994), indicated that his “conduct at the

final pretrial conference, in ruling on the motions in limine and in

today’s hearing do not evidence any bias,” and assured Liggins that he

would “act in an impartial and fair manner going forward.” (R.132: Tr.,

1062–63).

C.   The jury convicts Liggins.

     Testimony began the following day. The government called

various law enforcement witnesses from the three airports (Detroit,

Phoenix and Louisville), the case agent from DEA (Chad Hermans) and

two of Liggins’s co-conspirators (Dehaven Murphy and Luz Jiminez).

     Murphy was indicted long before Liggins—in 2016. She pleaded

guilty to possession with intent to distribute heroin and signed a

cooperation agreement. (R.138-3: Gov. Ex. 15, 1729–50; R.138-4: Gov.

Ex. 16, 1751–55). Jiminez was the woman who abandoned Liggins’s

suitcase at the Phoenix airport. (R.134: Tr., 1280). Following her

indictment in 2018, Jiminez pleaded guilty to a money laundering

conspiracy, and also signed a cooperation agreement. (R.138-5: Gov. Ex.

32, 1756–74; R.138-6: Gov. Ex. 33, 1775–78). Liggins did not move to



                                    15
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 24




suppress their testimony or any other evidence associated with them, or

otherwise object when they took the stand during trial.

      Nor did Liggins object when the government moved for the

admission of evidence from Murphy’s Instagram account, where she and

Liggins communicated with each other using the private message

feature. (R.133: Tr., 109).

      During cross-examination of Agent Hermans, Liggins’s attorney

began a line of questioning concerning the execution of a search

warrant at Jiminez’s home in Arizona. He appeared to be trying to show

bias. Because police recovered marijuana and guns at the house,

defense counsel suggested that Jiminez was indebted to the government

for avoiding a § 924(c) charge. (R.135: Tr., 1536–38). But the prosecutor

knew that defense counsel was factually mistaken about the search.

When the police arrived at the house, Liggins was there. Not Jiminez.

(Id., 1541).

      The prosecutor requested a sidebar. (Id., 1537). The district court

declined to hold one, but it sustained the government’s relevance

objection when defense counsel continued to press. (Id., 1538). On

rebuttal, the prosecutor again requested a sidebar. (Id., 1540). This
                                     16
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 25




time, the district court acquiesced. Government counsel explained that

defense counsel “opened the door” when he “discussed the 924(c) and

the firearms at Ms. Jiminez’s home,” because Liggins “was physically

present during the execution of the search warrant.” (Id., 1541). The

district court reiterated that the guns at the house were “irrelevant”

and “it would open things up that I don’t want to open up.” (Id.). The

district court did not allow the prosecutor to elicit testimony that would

have implicated Liggins, and she moved on. (Id.). Later, the district

court prohibited both sides from talking about the guns in closing

argument. (Id., 1560–61). Liggins did not object. (Id., 1561).

     After “a very short deliberation” (R.123: Def. Sent. Mem., 787), the

jury convicted Liggins. (R.101: Verdict Form, 620–21).

D.   The district court denies Liggins’s motion for new trial and
     sentences him at the bottom of the guidelines.

     Liggins moved for a new trial under Rule 33. (R.110: Motion, 649–

53). For the first time, he complained that the district court should not

have permitted Jiminez or Murphy to testify. (Id.).

     Jiminez had been the target of a wiretap investigation in Arizona

that began in September 2015. (Id., 649, 652). The Jiminez wiretap was


                                    17
          Case: 22-1236   Document: 26     Filed: 12/14/2022   Page: 26




part of an investigation conducted by the Maricopa County Sheriff’s

Office. (Id., 649, 652). In its trial brief, the prosecution conceded that

investigators knew to conduct surveillance of Jiminez at the Phoenix

airport because of interceptions on the Jiminez wiretap. (R.88: Trial Br.,

444). But because the application for interception was authorized by the

wrong state official, the government self-suppressed, did not seek to

introduce the interceptions from this state wiretap as evidence, and so

informed Liggins prior to trial. (Id., 443–45). The government’s trial

brief also fronted its attenuation theory concerning the admissibility of

Jiminez’s testimony and Liggins’s cash-filled suitcase from the Phoenix

airport. (Id., 444). Liggins concedes that “the information related to the

[electronic] surveillance of Jiminez was produced to counsel for Liggins

prior to trial” in discovery. (Def. Br. at 40).

      Notwithstanding his absolute failure to object before—or even

during—trial, Liggins argued that he was entitled to a new trial

because the district court should not have allowed Jiminez to testify.

(R.110: Motion, 651). He further claimed, “on information and belief,”

that the government learned of Murphy through Jiminez’s wiretap, so

the district court should have precluded her testimony too. (Id., 650–
                                      18
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 27




51). Liggins did not request a hearing on his motion, much less an

evidentiary one. (Id., 649–53).

     In response, the government explained that on December 2, 2015,

a source tipped an ATF task force officer that Murphy would be flying

with drugs to Phoenix the next day, and that this information was not

derived from the Arizona wiretap. (R.115: Response, 663). A

contemporaneous ATF report that the government produced established

as much. (R.116-5: Ex., 704). Liggins did not contest the government’s

explanation and did not file a reply brief.

     The district court denied the motion for new trial. It held that “the

evidence found on Murphy did not stem from” an unauthorized wiretap,

but rather, that “Dehaven Murphy was caught because of a tip[.]”

(R.117: Order, 708, 709). Citing the Supreme Court’s decision in United

States v. Ceccolini, 435 U.S. 268, 278 (1978), it also found that Jiminez’s

testimony was sufficiently attenuated from the wiretap, and that she

“testified on her own volition” because she could not be charged with

any crimes derived from the wiretap. (Id., 709).

     At sentencing, the district court rejected the government’s

recommendation of 136 months, and sentenced Liggins lower: to 127
                                     19
          Case: 22-1236    Document: 26    Filed: 12/14/2022   Page: 28




months. (R.137: Tr., 1686, 1696). This was at the bottom of the

guidelines. (Id., 1696).

     Liggins retained yet another new attorney, and appealed. (R.125:

Notice of Appeal, 797).




                                      20
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 29




                      Summary of the Argument
     Frustrated that Liggins was playing games by hiring and firing

attorneys and causing delays, the district court admittedly lost its cool

during a pretrial hearing. When Liggins moved for recusal almost two

years later—the night before trial began—the district court

acknowledged its mistake, twice apologized, and promised Liggins that

it would act in an impartial and fair manner going forward. Then, it did

just that. The isolated, hostile remarks complained of here do not

demonstrate “deep-seated and unequivocal antagonism that would

render fair judgment impossible,” and do not sustain Liggins’s

allegations of judicial bias. Liteky, 510 U.S. at 556.

     Liggins’s untimely arguments concerning the Jiminez wiretap fail

too. For starters, Liggins did not move to suppress prior to trial, and did

not show good cause for his lapse. Even so, his argument suffers from

causation and attenuation problems. Murphy was caught because of a

tip—not because of the wiretap—so Liggins’s challenge to that evidence

fails for lack of causation. And both Murphy and Jiminez testified six

years after the wiretap, of their own free-will. Under Ceccolini, 435 U.S.



                                     21
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 30




at 277, their respective decisions to cooperate broke any causal link

between the wiretap and their testimony.

     Nor can Liggins establish plain error on his remaining—and

unpreserved—arguments. Murphy’s responses to Liggins on Instagram

were admissible because they provided context for Liggins’s own party

admissions. And Liggins’s proposition that Jiminez dodged a § 924(c)

charge was misleading. Liggins—not Jiminez—was present at the

house when the police seized the guns, and the district court prevented

the government from mentioning that point to protect Liggins from

unfair prejudice. Accordingly, the district court did not violate Liggins’s

trial rights by prohibiting both sides from discussing these firearms

during closing argument.




                                     22
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 31




                               Argument

I.   The district court did not abuse its discretion in denying Liggins’s
     last-minute motion for recusal based on isolated comments from
     almost two years earlier.

     Liggins based his eleventh-hour recusal motion on the

“commentary of the Court” nearly two years prior, during the January

2020 hearing on Mr. Arnone’s motion to withdraw. (R.94: Motion, 470).

But opinions formed by the judge from events occurring in the course of

the proceedings “do not constitute a basis for a bias or partiality motion

unless they display a deep-seated favoritism or antagonism that would

make fair judgment impossible.” Liteky, 510 U.S. at 555. This is true

even when the judicial remarks are “hostile.” Id. Moreover, “expressions

of impatience, dissatisfaction, annoyance, and even anger, that are

within the bounds of what imperfect men and women, even after having

been confirmed as federal judges, sometimes display” do not establish

bias or partiality. Id. at 555–56. And so, even “a stern and short-

tempered judge’s ordinary efforts at courtroom administration” will

“remain immune.” Id. at 556.

     The burden is on the moving party to justify disqualification of the

trial judge. Burley v. Gagacki, 834 F.3d 606, 616 (6th Cir. 2016).
                                    23
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 32




Recusal is warranted “where a reasonable person with knowledge of all

the facts would conclude that the judge’s impartiality might reasonably

be questioned.” United States v. Adams, 722 F.3d 788, 837 (6th Cir.

2013); United States v. Nelson, 922 F.2d 311, 319–20 (6th Cir. 1990).

The parties agree (Def. Br. at 27) that this Court reviews a district

court’s refusal to grant a motion for recusal for abuse of discretion.

United States v. Dandy, 998 F.2d 1344, 1349 (6th Cir. 1993).

     Given Liggins’s conduct during the preceding months, the district

court had good reason to be frustrated with Liggins at the hearing in

January 2020. Liggins had already fired his retained attorney and was

now trying to fire an appointed one. Liggins had twice indicated to the

district court that he intended to plead guilty—first, in the Rule 20

transfer from Kentucky, and then again, just before trial—before

abruptly changing course after the court had accommodated him. On

the latter occasion, the court went through the logistical trouble of

canceling a scheduled trial at the last minute, only for Liggins to change

his mind about pleading guilty and request a trial again. And

throughout those proceedings, the district court had indulged all of

Liggins’s requests—agreeing to Liggins’s “unusual” request to have a
                                     24
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 33




presentencing report prepared before entering a plea (R.128: Tr., 818),

permitting him to fire his retained counsel (R.129: Tr., 824–29), and

agreeing to an adjournment of trial so Liggins’s new appointed counsel

could review the discovery with him (R.127: Tr., 801–06).

     So it was understandable that the district judge was concerned

about Liggins “playing games”—by hiring and firing attorneys and

causing delays. The issue was not, as defense counsel suggests on

appeal, simply that Liggins was unwilling to plead guilty. (Def. Br. at

5). It was that Liggins waffled back and forth about pleading or going to

trial so many times that his conduct was becoming, in the district

court’s view, “obstructionist.” (R.132: Tr., 1063). The district court

reasonably thought it was being “messed with.” (R.80: Tr., 396). And

although the district judge should not have lost his temper with Liggins

in the way that he did, the district judge should “not be judged too

harshly for expressing understandable concerns about delays, even if

we would have expressed those concerns in a more muted manner.”

United States v. Musaibli, No. 22-1013, 2022 WL 4138327, at *3 (6th

Cir. Sept. 13, 2022) (“the judge appears to understand his remarks as

venting frustrations, not plotting revenge”).
                                     25
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 34




     Nor did the district court indicate improper bias in his remark

that “This guy looks like a criminal to me. This is what criminals do.”

The context of this comment does not support Liggins’s allegation of

racial bias, but rather shows that the district court was focused on what

Liggins was doing—because Liggins was not behaving in the way that a

person who wanted a fair trial normally behaves. In his ruling on the

recusal motion, the district judge explained that when he made his

remark, he was not concluding that Liggins “was guilty of an offense,”

but rather, that Liggins “was acting in a manner which was frankly

obstructionist.” (R.132: Tr., 1063). The district court’s frustrations were

borne from his perceptions of Liggins’s conduct—nothing else.

     In criticizing the district judge for not allowing him to speak at the

hearing (Def. Br. at 4), Liggins also breezes past the reality that he was

still represented by counsel at the time. To prevent defendants from

making harmful admissions, judges routinely decline to hear directly

from represented defendants and require them to communicate though

counsel. Liggins has identified no precedent indicating that a

represented defendant has any right to speak directly to the court at a

pretrial hearing, and there is no constitutional right to hybrid
                                     26
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 35




representation. See United States v. Cromer, 389 F.3d 662, 682, n.12

(6th Cir. 2004). Given that Liggins was still represented by Mr. Arnone,

the district judge had ample discretion to decline to hear direct

statements from Liggins.

     Liggins is correct that when the district court denied Liggins’s

last-minute recusal motion in October 2021, the judge’s recollection of

case events in late 2019 and early 2020 was imprecise. The district

court appears to have conflated the events of September 2019 (when

Liggins was expected to plead) with the hearing in January 2020 (when

he admonished Liggins during the hearing on the Arnone motion to

withdraw). The district court also confused Liggins’s third attorney

(Brusstar) with his second (Arnone). But a muddled memory doesn’t

establish bias. Moreover, Liggins waited almost two years to make his

recusal motion. It would be a strange reward for strategic behavior if

Liggins’s long delay benefitted his recusal argument, just because the

district court’s recollection of what happened had faded in the

meantime.

     Rather, the more germane focus for our purposes is on the portion

of the transcript where the district judge apologizes. Twice. He begins:
                                    27
          Case: 22-1236   Document: 26     Filed: 12/14/2022   Page: 36




“And I want to say right now directly to Mr. Liggins I’m sorry, I

apologize for getting upset.” (R.132: Tr., 1062). And again, a few

minutes later: “Was I imperfect? Was I mad? Was I stupid? Yes, I made

a mistake. I regret it, I apologize.” (Id., 1064).

      Liteky leaves room for angry judges, and none of the authorities

that Liggins cites involve an apology from the jurist accused of bias.

Rather, in United States v. Antar, 53 F.3d 568, 576 (3d Cir. 1995), “the

district judge, in stark, plain and unambiguous language, told the

parties that his goal in the criminal case, from the beginning, was

something [] improper.” Here, the district judge admittedly lost his cool.

But he did not have an “improper” and antagonistic agenda against

Liggins from day one, like the Antar judge admittedly did. Id.

      Nor can Liggins show bias from the district judge’s attempt to

make amends by saying that he would give Liggins “the same rights

and opportunities here to demonstrate his innocence or lack of guilt as

any other litigant.” (R.132: Tr., 1062–63). The district judge was not

trying to punish Liggins or change anything about the trial. He was

promising, though inarticulately, to honor Liggins’s right to present a

defense under the Sixth Amendment. And although the district judge’s
                                      28
          Case: 22-1236   Document: 26     Filed: 12/14/2022   Page: 37




articulation of the standard of proof was undoubtedly wrong, the

district judge made this remark outside the presence of the jury. “Much

of the concern about an otherwise inappropriate judicial act or remark

is neutralized by the absence of the jury.” United States v. Morrow, 977

F.2d 222, 228 (6th Cir. 1992) (en banc); United States v. Blood, 435 F.3d

612, 629 (6th Cir. 2006) (“Blood has failed to meet the ‘high hurdle’

required to prove bias from remarks made in the absence of the jury.”);

see also United States v. Smith, 928 F.2d 740, 741–43 (6th Cir. 1991).

      Most importantly, when addressing and instructing the jury on

this point, the district court got it right. During voir dire, the district

court correctly emphasized that Liggins did not have to put on a case

when it discussed with the prospective jurors Liggins’s “Fifth

Amendment right not to testify.” (R.132: Tr., 964). As the court asked

the venire: “the question I have for you, and this is really important, is

whether or not any of you believe that a defendant who does not testify

is entitled to a negative inference or may be guilty? That’s not the law.”

(R.132: Tr., 964). The court continued: “Doesn’t look like anybody is

motivated to think negatively of a defendant who chooses not to testify

and that’s a very good thing indeed.” (Id., 964–95). The judge also
                                      29
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 38




discussed with a juror with a police relative: “you have to be fair to Mr.

Liggins and his side of the courtroom as well and take the testimony

that you get from [law enforcement witnesses] objectively. Are you able

to do that?” (Id., 959). The following day, the district court correctly

instructed the jury that “Mr. Liggins is presumed innocent until proven

guilty,” and that he “starts out with a clean slate and is presumed

innocent of the crimes he’s charged with.” (R.133: Tr., 1090). The

district court also told the jurors that Liggins “has no burden to prove

his” “innocence or to present any evidence or to testify,” and that the

defense was not even required to give an opening statement. (Id., 1090–

91, 1095).

     In the final instructions, the district court again correctly told the

jury that “the defendant starts a trial with a clean slate, with no

evidence at all against him, and the law presumes that he’s innocent.”

(R.136: Tr., 1632). The district court explained that this “presumption of

innocence stays with the defendant unless the government presents

evidence here in court that overcomes the presumption and convinces

you beyond a reasonable doubt that he’s guilty.” (Id.). The district court

also confirmed that Liggins “has no obligation to present any evidence
                                     30
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 39




at all or to prove to you in any way that he is -- that he is innocent.”

(Id.). Rather, it is “up to the government to prove that the defendant is

guilty, and the burden stays on the government from the start to the

finish.” (Id.). The district court later reminded them that “it’s up to the

government to prove a defendant guilty beyond a reasonable doubt. It is

not up to a defendant to prove that he is innocent.” (Id., 1652).

     As important, the trial record shows no evidence of bias—or any

lingering frustration with Liggins. On the first day of testimony, the

district judge welcomed the defense and noted “good to see Mr. Liggins

as always.” (R.133: Tr., 1079). The district court rejected a draw-from-a-

hat approach to dismissing alternate jurors to address “issues in our

district for many years regarding the representation of minority jurors,”

to “assure ourselves of not dismissing any minority jurors,” because

“these folks who have been [] unrepresented statistically have the right

to serve.” (Id., 1210–11).

     As the proceedings continued, the district court sustained several

defense objections, and overruled several government objections. (R.133:

Tr., 1137, 1157, 1180, 1206; R.135: Tr., 1518). Even though some of

defense counsel’s questions of the case agent on cross were “beyond
                                     31
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 40




direct” and did not seem to be “impeachment material,” the judge gave

counsel “a little latitude” and “some rein,” permitting him to “go right

ahead.” (R.135: Tr., 1512). A few minutes later, he allowed defense

counsel to similarly “go ahead” with a compound question, over the

government’s objection, and also responded to counsel’s next request for

“a little latitude” with “[t]ake your time.” (Id., 1531–32). Finally, over a

government objection that a line of questioning had been asked and

answered, he “let the agent respond.” (Id., 1535). At no point did the

district judge’s trial rulings suggest any sort of one-sided treatment.

     Nor did the district judge display any antagonism against Liggins

at sentencing. Far from it. He sustained Liggins’s sentencing objection.

(R.137: Sent. Tr., 1676). Then, over the government’s objection, he

permitted Liggins’s father to allocute, stating that he would be

“delighted to hear from Mr. Liggins’s father Louis,” to whom he was

“entirely sympathetic.” (Id., 1679–80, 1684). He rejected the

government’s recommendation of 136 months, recognized that Liggins

had two “involved, loving, responsible, employed, caring” parents, and

highlighted the “opportunity” that Liggins had to “get treatment,” “stick

by the program,” and then “make a go of” it with his dad in the family
                                     32
           Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 41




electric business following his release. (Id., 1686, 1692, 1695–96). The

sentence was 127 months—at the bottom of the guideline range. (Id.,

1696). Then, at the end of the proceeding, the district judge “wish[ed]

the very best to Mr. Liggins.” (Id., 1699).

     The district judge lost his temper at a pretrial hearing in January

2020. He admitted his mistake, repeatedly expressed his regret for

doing so, and twice apologized to Liggins. But a review of this judge’s

overall conduct in this case—from the time of indictment in February

2018 through sentencing in March 2022—did not reveal a deep-seated

antagonism against Liggins that made fair judgment impossible. The

district court did not abuse its discretion in denying Liggins’s motion for

recusal.

     Liggins’s related request for reassignment fails for the same

reasons. (Def. Br. at 47). Reassignment is an extraordinary power that

should be rarely invoked. See U.S. ex rel. Williams v. Renal Care Grp.,

Inc., 696 F.3d 518, 533 (6th Cir. 2012); see also Musaibli, 2022 WL

4138327, at *3 (denying government’s motion for reassignment

following mandamus). To determine whether reassignment is

necessary, this Court considers whether (1) the original judge would
                                      33
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 42




reasonably be expected to have substantial difficulty in putting out of

his mind previously expressed views or findings; (2) reassignment is

advisable to preserve the appearance of justice; and (3) reassignment

would entail waste and duplication out of proportion to any gain in

preserving the appearance of fairness. Williams, 696 F.3d at 533.

     None of those factors support reassignment here. Because Liggins

has not established sufficient grounds for recusal, reassignment would

not be needed to preserve the appearance of justice. There is no reason

to think that the district judge would have substantial difficulty in

putting out of his mind previously expressed views or findings. He

readily explained that he appreciated the recusal motion because it

gave him “an opportunity to clear up a few things that ha[d] been

bothering [him] for a few months.” (R.132: Tr., 881). Then, after

apologizing to Liggins, he treated Liggins fairly in ruling on the

evidence, overseeing the trial, and sentencing Liggins at the bottom of

the guidelines. Finally, the district judge would be more acquainted

with the record and could expedite any further proceedings if this Court

were to remand on some basis. Reassignment is unwarranted.



                                    34
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 43




II.   Liggins is not entitled to a new trial based on his post-trial
      suppression arguments.

      Liggins’s motion for new trial was nothing more than an untimely

motion to suppress by another name. A defendant must move to

suppress evidence in a pretrial motion. Fed. R. Crim. P. 12(b)(3)(C).

Failure to “meet the deadline for making a Rule 12(b)(3) motion”

renders the motion untimely. Fed. R. Crim. P. 12(c)(3). Thus, a

defendant can raise a suppression argument post-trial only if he

establishes “good cause” for failing to raise it earlier. Id.; see United

States v. Bankston, 820 F.3d 215, 229 (6th Cir. 2016).

      Liggins never demonstrated good cause for his untimely

suppression motion. In his motion for new trial, he claimed that he did

not receive the necessary discovery from the government in time to file

a pretrial motion. (R.110: Motion, 650). But on appeal, he concedes that

this wasn’t true. (Def Br. at 40). In other words, Liggins possessed all of

the information necessary to make a pretrial motion, but did not. And

although the district court elected to rule on the merits of Liggins’s

suppression claim, despite its untimeliness, that decision does not

preserve the issue for appellate review. See United States v. Obiukwu,


                                     35
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 44




17 F.3d 816, 819 (6th Cir. 1994); United States v. Oldfield, 859 F.2d

392, 396 (6th Cir. 1988); United States v. Sachs, 801 F.2d 839, 847 (6th

Cir. 1986). Rather, Liggins’s failure to establish good cause for failing to

move to suppress prior to trial precludes appellate review of his

arguments. See United States v. Farmer, 38 F.4th 591, 605 (7th Cir.

2022); United States v. Sands, 815 F.3d 1057, 1061 (7th Cir. 2015).

     But even if this Court were to follow the district court’s approach

and address Liggins’s suppression arguments on the merits, the district

court correctly rejected those arguments and exercised its discretion in

denying Liggins’s motion for new trial. Upon the defendant’s motion,

Rule 33 permits the district court to vacate any judgment and grant a

new trial to that defendant if the interest of justice so requires. Fed. R.

Crim. P. 33(a). The rule does not define “interest of justice,” but this

Court has held that the interest of justice standard “allows the grant of

a new trial where substantial legal error has occurred.” United States v.

Munoz, 605 F.3d 359, 373 (6th Cir. 2010). It is the defendant’s burden

to establish a right to a new trial. United States v. Pierce, 62 F.3d 818,

823 (6th Cir. 1995) (citing United States v. Davis, 15 F.3d 526, 531 (6th

Cir. 1994)).
                                     36
          Case: 22-1236     Document: 26    Filed: 12/14/2022   Page: 45




     “The decision whether to grant a new trial is left to the sound

discretion of the district court, and this Court will not reverse absent a

clear abuse of discretion.” United States v. Dunnican, 961 F.3d 859, 878

(6th Cir. 2020) (citing Pierce, 62 F.3d at 823); United States v. Munoz,

605 F.3d 359, 366 (6th Cir. 2010). This is true even where, as here, the

defendant’s motion for new trial is based on a Fourth Amendment

challenge. See United States v. Soto, 794 F.3d 635, 647 (6th Cir. 2015).

What’s more, when this Court evaluates the district court’s denial of a

motion to suppress evidence, it “consider[s] the evidence in the light

most favorable to the government.” United States v. Woods, 711 F.3d

737, 740 (6th Cir. 2013).

     Liggins cannot demonstrate any abuse of discretion under that

standard. First, given Liggins’s failure to challenge the government’s

explanation that ATF learned of Dehaven Murphy from an independent

source of information, the district court did not rely on clearly erroneous

findings of fact when it concluded that Murphy “was caught because of

a tip[,]” not because of the wiretap. (R.117: Order, 708). Second, because

Jiminez and Murphy both testified of their own free will, their 2021



                                       37
           Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 46




trial testimony was sufficiently attenuated from the 2015 wiretap to

dissipate any potential taint anyway. (Id., 709).

      A.    Dehaven Murphy was caught because of a tip—not because
            of the Jiminez wiretap.

      Liggins’s argument concerning Dehaven Murphy failed for a

simple reason: Liggins did not demonstrate any causal connection

whatsoever between Murphy and the Jiminez wiretap. A defendant may

not invoke the exclusionary rule as a blanket attack against any and all

evidence gathered against him anywhere. See Hudson v. Michigan, 547

U.S. 586, 592 (2006). Rather, he must demonstrate that the alleged

illegality “is at least the ‘but for’ cause of the discovery of the evidence”

that he is seeking to suppress. United States v. Clariot, 655 F.3d 550,

553 (6th Cir. 2011). “But for” causation is a “necessary,” but “not a

sufficient, condition for suppression.” Hudson, 547 U.S. at 592–93; see

also United States v. Figueredo-Diaz, 718 F.3d 568, 575–76 (6th Cir.

2013). Indeed, the “exclusionary rule forbids the government from using

evidence caused by an illegal seizure, not evidence found around the

time of a seizure.” Clariot, 655 F.3d at 555.




                                      38
          Case: 22-1236    Document: 26    Filed: 12/14/2022   Page: 47




      Here, as in Figueredo-Diaz, the “well-established principles

regarding causation control,” and their “application is the reason that

suppression is not warranted.” 718 F.3d at 575. In his arguments below,

Liggins initially alleged that he did not get discovery concerning the

Jiminez wiretap, and then speculated, on “information and belief,” that

there was a causal connection between the wiretap and Murphy. (R.110:

Motion, 649–50). But in response, the government established

something that Liggins now concedes: he did get the discovery about

the Jiminez wiretap. (R.115: Response, 662). As Liggins admits in his

brief at page 40, “it is clear that” “the information related to the

[electronic] surveillance of Jiminez was produced to counsel for Liggins

prior to trial.” (Def. Br. at 40).

      Even with that evidence in his possession, Liggins never

attempted to demonstrate any causal connection between the wiretap

and Murphy. Nor could he. As the government explained, ATF learned

of Murphy from a tip, not from the wiretap. (R.115: Response, 663). This

explanation was supported by a contemporaneous report of

investigation. (R.116-5: Ex., 704). ATF task force officer Delshawn King

authored the report in December 2015, stating that on December 2,
                                      39
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 48




2015, he “received information from a credible source” that Dehaven

Murphy was scheduled to fly out of Detroit Metropolitan Airport to

Phoenix on an American Airlines flight, and was “believed to be in

possession of 300 grams of heroin.” (Id.). This, too, was known by the

defense prior to trial, and defense counsel expressly referenced King’s

“source of information” during questioning. (R.135: Tr., 1510, 1512,

1514).

     In addition, the trial testimony of Dehaven Murphy, Luz Jiminez,

and Agent Chad Hermans further reinforced the district court’s

conclusion that Murphy was caught because of a tip. Murphy testified

that although she knows Liggins from high school, she has never met

Jiminez. (R.133: Tr., 1204). Jiminez’s testimony similarly confirmed

that the two women don’t know each other. When asked if she was

aware of “something happening at another airport” in December 2015,

Jiminez knew only that a “girl” who “grew up with” Liggins “got

caught.” (R.134: Tr., 1283). Then Agent Hermans confirmed, under

questioning from defense counsel, that on December 2, 2015, King

received, “from a source of information, the fact that Dehaven Murphy

was going to be flying on that flight to Phoenix the next day.” (R.135:
                                    40
         Case: 22-1236   Document: 26       Filed: 12/14/2022   Page: 49




Tr., 1510). Importantly, Agent Hermans also confirmed that there was

not “any electronic surveillance leading up to the December 2 source of

information or the December 3 arrest” of Dehaven Murphy. (Id., 1514).

     Contrary to Liggins’s remonstrations now, the issue before the

district court was indeed “straightforward.” (R.117: Order, 707). For

starters, this Court has held in similar contexts that a “bare assertion

‘on information and belief’ is not enough” to establish an evidentiary

foundation for an accusation of government wrongdoing. See United

States v. Stark, 758 F. App’x 518, 520 (6th Cir. 2019); Keilholtz v.

United States, No. 22-5103, 2022 WL 3221935, at *3 (6th Cir. July 21,

2022). Liggins never contested the government’s explanation, and

King’s report remained “unchallenged.” Figueredo-Diaz, 718 F.3d at

575. In his motion, Liggins implied that if he had the discovery, he

would be able to reveal the connection between the wiretap and

Murphy. But even after being reminded that he did have the discovery,

Liggins did not provide the district court with any information

supporting his supposition concerning causation. The district court did

not abuse its discretion in crediting the government’s evidence when

Liggins offered nothing to rebut it.
                                       41
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 50




     Even now, Liggins cannot identify any clearly erroneous finding of

fact by the district court. Rather, he argues that “where a criminal

defendant shows some contested facts, an evidentiary hearing should be

ordered.” (Def. Br. at 38). But that is precisely his problem: Liggins

didn’t show any contested facts. He jumped to an unsupported

conclusion about causation—based on “information and belief” alone—

and the government responded with an explanation that Liggins left

unchallenged.

     Moreover, the district court’s decision to resolve the motion on the

briefs was perfectly understandable, given that Liggins never asked for

a hearing or put forward any facts challenging the government’s

explanation. “The question of whether to decide a motion on the

supporting evidence filed with the motion or to hold an evidentiary

hearing is within the discretion of the trial court.” United States v.

Smith, 749 F.3d 465, 493 (6th Cir. 2014); see also United States v.

O'Dell, 805 F.2d 637, 643 (6th Cir. 1986). But because Liggins

failed to request an evidentiary hearing below, he forfeited his claim of

error on that point, and this Court’s review is limited to plain error. See

Puckett v. United States, 556 U.S. 129, 135–36 (2009). Liggins cannot
                                     42
          Case: 22-1236     Document: 26    Filed: 12/14/2022   Page: 51




demonstrate any error at all here, much less plain error, given the

absence of a factual dispute before the district court. See Smith, 749

F.3d at 493; O'Dell, 805 F.2d at 643; United States v. Anderson, 76 F.3d

685, 692 (6th Cir. 1996).

     Indeed, Liggins’s own authorities support the district court’s

decision. In Matter of Searches & Seizures Conducted on Oct. 2, & 3,

1980, 665 F.2d 775, 776 (7th Cir. 1981), the Seventh Circuit held that

no evidentiary hearing on the motion was required because the movant

failed to meet his burden showing that there were disputed material

facts. And in United States v. Smith, 546 F.2d 1275, 1281 (5th Cir.

1977), the Fifth Circuit affirmed the district court’s decision not to

conduct a hearing concerning impermissible suggestiveness in a

photographic spread.

     For the first time on appeal, Liggins argues that he should have

been permitted to challenge “the credibility of witnesses.” (Def. Br. at

38). But he cannot show plain error on this point, either. There were no

affidavits in play, and ATF did not rely on its source of information to

establish probable cause. The source merely tipped that Dehaven

Murphy was scheduled to fly from Detroit to Phoenix on American
                                       43
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 52




Airlines and was believed to be in possession of 300 grams of heroin.

(R.116-5: Ex., 704). A trained drug detection dog alerted on her checked

luggage at the airport. (R.133: Tr., 1123). Then, she consented to the

search of her bag. (Id., 1124).

     Liggins’s failure to demonstrate causation thus ends his

suppression argument as to Murphy. In Clariot, 655 F.3d at 555, this

Court reversed suppression of evidence given the defendant’s “failure to

establish any causative link between the alleged misconduct and the

evidentiary discovery.” Similarly, in Figueredo-Diaz, 718 F.3d at 575–

76, this Court reversed suppression of evidence where the defendants’

“case for suppression” “fail[ed] on the requirement of causation” because

a questionable detention was “entirely superfluous so far as the

discovery of evidence is concerned,” and the evidence “had nothing to do

with defendants being detained.” And the Supreme Court has explained

that “[s]uppression of evidence ... has always been our last resort, not

our first impulse.” Utah v. Strieff, 579 U.S. 232, 237–38 (2016). Liggins

was required to do more to meet his burden that he was entitled to a

new trial than just speculate about causation. “A new trial is an

extraordinary remedy for extraordinary circumstances.” United States
                                     44
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 53




v. VanDemark, 39 F.4th 318, 322 (6th Cir. 2022) (quotation omitted).

The circumstances here are nothing of the sort.

     B.    The 2021 trial testimony was sufficiently attenuated from the
           2015 wiretap.

     Unlike Murphy, Jiminez was admittedly—and quite obviously—

connected to the wiretap. But even so, “exclusion may not be premised

on the mere fact that a constitutional violation was a ‘but-for’ cause of

obtaining evidence.” Hudson, 547 U.S. at 592. And even assuming that

the authorization glitch made the Jiminez wiretap “illegal,” the

Supreme Court has repeatedly held that evidence does not become fruit

of the poisonous tree “simply because ‘it would not have come to light

but for the illegal actions of the police.’” See Segura v. United States,

468 U.S. 796, 815 (1984); see also Hudson, 547 U.S. at 592; United

States v. Elmore, 18 F.4th 193, 202 (6th Cir. 2021).

     Here, in denying Liggins’s motion for new trial, the district court

correctly applied Supreme Court precedent and held that Jiminez’s

voluntary testimony in 2021 was sufficiently attenuated from her

wiretap in 2015. In Ceccolini, 435 U.S. at 279, the Supreme Court held

that witness testimony given as “an act of ... free will,” after


                                     45
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 54




“[s]ubstantial periods of time elapsed between the time of the illegal

search and the initial contact with the witness ... and the testimony at

trial” was sufficiently attenuated from the problematic search to avoid

application of the exclusionary rule. The Court further reasoned that

“the illegality which led to the discovery of the witness very often will

not play any meaningful part in the witness’ willingness to testify.” Id.

at 277. Further, in United States v. Wac, 498 F.2d 1227, 1232 (6th Cir.

1974), this Court recognized that the attenuation doctrine can apply in

cases involving wiretaps with authorization problems. The district court

relied on both cases in denying Liggins’s motion for new trial. (R.117:

Order, 708–09).

     Liggins ignores Ceccolini and Wac. He instead cites United States

v. Giordano, 416 U.S. 505, 524 (1974), and United States v. Rice, 478

F.3d 704, 710 (6th Cir. 2007), for the general proposition that the

exclusionary rule can apply in wiretap cases. (Def. Br. at 32). But even

Liggins acknowledges that the attenuation doctrine is an established

exception to the exclusionary rule. (Id. at 38). His reliance on United

States v. Williams, 615 F.3d 657, 660 (6th Cir. 2010) is misplaced too.

Williams dealt with whether sufficient attenuation existed between the
                                     46
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 55




unlawful stop of the defendant and his own inculpatory statement made

“only seconds” after. Williams, 615 F.3d at 669. None of Liggins’s

authorities addresses the issue he has raised here—whether the trial

testimony of a cooperating co-conspirator was sufficiently attenuated

from a problematic search that took place several years prior.

     The district court’s ruling was further supported by various

decisions applying Ceccolini and holding that the live witness testimony

from co-defendants was sufficiently attenuated from the problematic

searches in those cases. In United States v. Akridge, 346 F.3d 618, 621

(6th Cir. 2003), this Court held that the testimony of a co-defendant

who had pleaded guilty was admissible as a product of free will.

Similarly, in United States v. Gray, 491 F.3d 138, 156–57 (4th Cir.

2007), the Fourth Circuit held that the cooperating co-defendant’s

testimony was sufficiently attenuated, particularly given that his “plea

agreement” was “distant in time from the constitutional violation.” See

also United States v. Sweets, 526 F.3d 122, 129 (4th Cir. 2007)

(cooperating witness’s “independent acts of will to plead guilty and

testify against” defendant, coupled with the “lapse of time,” “utterly



                                    47
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 56




undermine any connection between the purported constitutional

violation and the testimony of the witness”).

     Even “where the identity and potential usefulness of a witness is

revealed as the result of an unlawful search,” the Second Circuit held

that “the willingness of that individual to testify despite the illegal

intrusion represents a significant attenuation of the link between the

police misconduct and its evidentiary fruits.” United States v. Leonardi,

623 F.2d 746, 752 (2d Cir. 1980). Likewise, in United States v. White,

746 F.2d 426, 428 (8th Cir. 1984), the Eighth Circuit held that even

though it was “arguable” that “the illegal wiretap led to his discovery as

a witness against” the defendant, the witness’s “cooperation with DEA

and testimony at trial was voluntary and with full knowledge of his

fifth amendment rights,” and sufficiently attenuated from the

problematic wiretap in that case.

     The interceptions from the wiretap here took place in the fall of

2015. (R.110: Motion, 649). Jiminez signed her written plea and

cooperation agreements in May 2019. (R.138-5: Gov. Ex. 32, 1766;

R.138-6: Gov. Ex. 33, 1778). She testified at trial six years after the

interceptions—in the fall of 2021. (R.134: Tr., 51). Liggins does not
                                     48
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 57




dispute that Jiminez’s cooperation and trial testimony resulted from an

exercise of her free will and were the “product of detached reflection and

a desire to be cooperative.” Ceccolini, 435 U.S. at 277; Akridge, 346 F.3d

at 630. Under Ceccolini, then, Jiminez’s decision to cooperate broke any

causal link between her testimony and the wiretap, foreclosing Liggins’s

only suppression argument related to her testimony.

     The attenuation doctrine also provides an alternative basis for

affirming the district court’s ruling concerning the testimony of

Dehaven Murphy. Even if Liggins had been able to show that there was

some connection between Murphy and the Jiminez wiretap, Murphy

signed her plea and cooperation agreements in 2017, well before Liggins

was even indicted. (R.138-3: Gov. Ex. 15, 1737; R.138-4: Gov. Ex. 16,

1755). Then Murphy testified of her own free will. (R.133: Tr., 68). Her

voluntary trial testimony, like Jiminez’s, was sufficiently attenuated

from the wiretap to dissipate any potential taint. Ceccolini, 435 U.S. at

277; Akridge, 346 F.3d at 630.




                                    49
           Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 58




III.   The district court did not plainly err in admitting Murphy’s
       responses to Liggins on Instagram.

       After Murphy was indicted, Liggins contacted her through

Instagram’s private message feature. They exchanged several

messages, with Liggins repeatedly asking her to send him the discovery

from her federal criminal case, so he could see if he was implicated in

the government’s evidence. (R.133: Tr., 1178–84; R.138-2: Gov. Ex. 14,

1704–28). Screen shots of these Instagram messages were admitted into

evidence at trial as Exhibit 14, with no objection from Liggins. (R.138-2:

Gov. Ex. 14, 1704–28; R.133: Tr., 1182).

       Liggins does not dispute that his statements to Murphy were

properly admitted under Federal Rule of Evidence 801(d)(2). But for the

first time on appeal, Liggins claims that the district court erred in

admitting Murphy’s various responses back to him, because he believes

they are hearsay. (Def. Br. at 45).

       Liggins concedes that he did not object below, and that the

standard of review is plain error. (Id.). To demonstrate plain error,

Liggins must show (1) “an error”; (2) that “the error is ‘clear or obvious,’

rather than subject to reasonable dispute”; (3) that the error “affected


                                      50
          Case: 22-1236      Document: 26    Filed: 12/14/2022   Page: 59




[his] substantial rights”—meaning that “it affected the outcome of the

district court proceedings”; and (4) that “the error seriously affects the

fairness, integrity, or public reputation of judicial proceedings.” United

States v. Marcus, 560 U.S. 258, 262 (2010) (cleaned up). “Meeting all

four prongs is difficult, ‘as it should be.’” Puckett v. United States, 556

U.S. 129, 135 (2009) (citing United States v. Dominguez Benitez, 542

U.S. 74, 83, n. 9 (2004)).

      The Federal Rules of Evidence define a “statement” as “an oral or

written assertion” (or nonverbal conduct intended as an assertion). Fed.

R. Evid. 801(a). Some of Murphy’s responses to Liggins are questions,

and so they do not qualify as hearsay. Questions are not “assertive

speech at all,” and do not “assert a proposition that could be true or

false.” United States v. Rodriguez-Lopez, 565 F.3d 312, 314 (6th Cir.

2009) (reversing suppression of calls made to the defendant’s phone to

order drugs because they were hearsay); United States v. Wright, 343

F.3d 849, 865 (6th Cir. 2003) (A “question is typically not hearsay

because it does not assert the truth or falsity of a fact.”).

      Murphy’s other responses to Liggins were admitted not to show

the truth of the matters asserted, but to provide context for Liggins’s
                                        51
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 60




party admissions. This Court has frequently affirmed the admission of

such evidence. See United States v. Harrison, ___ F.4th ___, No. 21-

6146, 2022 WL 17348750, at *2 (6th Cir. Dec. 1, 2022) (Statements

“weren’t used for their truth. They were used only to give context to [the

defendant’s] admissible words and actions.”); United States v.

Dunnican, 961 F.3d 859, 872–73 (6th Cir. 2020) (affirming district

court’s admission of “portions of the electronic conversations connected

to unidentified parties who conversed with the defendant,” in order to

provide context to defendant’s own statements); United States v.

Henderson, 626 F.3d 326, 337 (6th Cir. 2010) (characterizing statements

made by defendant during recorded telephone conversations as non-

hearsay admissions under Rule 801(d)(2)(A), and concluding that the

admission of statements made by others in the phone call were not to

show the truth of the matter asserted, but instead, to provide context

for defendant’s admissions); United States v. Jacob, 377 F.3d 573, 581

(6th Cir. 2004) (affirming admission of recording that contained a

conversation between defendant and a co-conspirator, offered to provide

context to the defendant’s party admissions). Liggins’s citation to one



                                    52
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 61




unpublished district court ruling on a motion in limine (Def. Br. at 46)

is unpersuasive in the face of these published decisions from this Court.

      Moreover, Liggins does not seriously contend that Murphy’s

statements about whether Liggins left her “hanging,” or whether

Murphy was “the only person in trouble” were offered for their truth.

(Id.). Rather, he argues that they “go to the truth of whether Liggins

was involved in a conspiracy or in aiding and abetting Murphy.” (Id.).

But as this Court explained in Rodriguez-Lopez, “the fact that out-of-

court statements are being used to support a material inference does

not by itself make them hearsay; it makes them relevant.” 565 F.3d at

315. Along the same lines, in Harrison, ___ F.4th ___, 2022 WL

17348750, at *2, this Court recently recognized that “almost any out-of-

court statement the government offers in court is admitted to prove the

government’s case in some way. Otherwise, there would be no reason to

introduce the statement at all.” What’s more, the Harrison court

clarified once and for all that “‘the matter asserted’ means the matter

asserted by the statement, not the matter asserted by the government.”

Id.



                                    53
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 62




     Likewise here, Murphy’s statements were not offered to prove the

truth of what she said, but because they provided context for Liggins’s

admissions during their conversation. For instance, in response to

Murphy’s statements about her own legal troubles, Liggins asked for

her discovery “to see if his name was on it.” (R.133: Tr., 1182). This

exchange was not used to prove that Murphy had legal troubles, but

rather as probative circumstantial evidence of Liggins’s involvement in

a conspiracy with Murphy. Id.; see also United States v. Evans, 883 F.2d

496, 501 (6th Cir. 1989) (statement was not offered to prove the truth of

the matter asserted because statements were “only offered to construct

the sequence of events”); Dandy, 998 F.2d at 1351 (statement was not

offered to prove the truth of the matter asserted where “the relevance of

this statement lies in the fact that what was said indicated a

breakdown in the relationship” between the defendant and his

associate).

     Nor can Liggins show any negative affect on his substantial

rights. Jacob, 377 F.3d at 581 (defendant failed to point to any prejudice

resulting from the admission of statements). At best, he claims that

Murphy’s statements “unfairly corroborated and bolstered Murphy’s
                                     54
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 63




testimony.” (Def. Br. at 46). But the government did not “make use of

these messages” in the way that Liggins claims. (Id.). The

“conversation” between Liggins and Murphy that is captured in Exhibit

14 was the subject of just three pages of trial transcript. (R.133: Tr.,

1181–84). The prosecutor tightly focused his questioning on Liggins’s

repeated requests for Murphy’s discovery, Liggins’s concerns that

Murphy might be working with the police, and what Liggins could do

for Murphy. (Id.). During closing argument, the government

emphasized how Liggins repeatedly “tried to get a copy of Dehaven

Murphy’s discovery” by “reaching out to her through Instagram,” so he

could “find out if she was cooperating with law enforcement” and

whether “he was going to be implicated in her arrest.” (R.136: Tr.,

1583). Liggins’s actions—not Murphy’s statements—were the focus.

     Moreover, the government produced substantial evidence of

Liggins’s involvement in the drug conspiracy with Murphy well beyond

her Instagram responses. She testified at length about it. (R.133: Tr.,

1141–1207). The jury heard recordings of calls between Liggins and

Murphy where Liggins discussed it. (Gov. Exs. 9–11 (audio recordings)

(on file with the Sixth Circuit clerk’s office)). And the jury saw Liggins’s
                                     55
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 64




non-hearsay admissions to her on Instagram about it. (R.138-2: Gov.

Ex. 14, 1704–28). All told, the idea that the verdict was “substantially

swayed” by any improper use of Murphy’s Instagram responses to

Liggins is “implausible.” United States v. Chavez, 951 F.3d 349, 360 (6th

Cir. 2020).

IV.   The district court did not violate Liggins’s trial rights by forbidding
      either side from discussing guns during summation.

      Jiminez has an adult son named Jesus Leon. (R.118: PSR, 722

(¶38)). About 14 months after Liggins’s October 2015 check and miss at

the Phoenix airport, law enforcement officers seeking to arrest Leon on

a federal warrant for drug trafficking and money laundering in a

different case went to Leon’s house. (Id.). Jiminez and Leon lived there

together. Liggins had been staying there too. (Id., 722 (¶39)). Jiminez

was not home when the police arrived. But Leon and Liggins were. (Id.).

After obtaining a search warrant, investigators seized almost 11

kilograms of marijuana, ten firearms, and four loaded magazines from

the home. (Id., 722, ¶40).

      Liggins’s attorney did not ask Jiminez any questions about this

search and seizure at trial. But during cross-examination of the case


                                     56
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 65




agent, defense counsel insinuated that by cooperating with the

government, Jiminez dodged a § 924(c) charge and a 5-year mandatory

consecutive penalty stemming from this raid. (R.135: Tr., 1536–38).

     Armed with the knowledge that Jiminez was not even home when

the police arrived—but Liggins was—the prosecutor objected and

requested a sidebar. (Id., 1537). The district court declined to hold one,

but it sustained the government’s relevance objection when defense

counsel continued to press. (Id., 1538). On rebuttal, the prosecutor

again requested a sidebar to get clarification on whether she could

present certain evidence. (Id., 1540). She explained that defense counsel

“opened the door” when he “discussed the 924(c) and the firearms at Ms.

Jiminez’s home,” because Liggins “was physically present during the

execution of the search warrant.” (Id., 1541). The district court

reiterated that the guns at the house were “irrelevant” and “it would

open things up that I don’t want to open up.” (Id.). He prohibited the

government from soliciting additional testimony establishing that

Liggins—and not Jiminez—was there with the guns. (Id.). Later, the

prosecutor reasoned that Liggins should be prohibited from arguing to

the jury that Jiminez could have been charged for the guns, because it
                                     57
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 66




was misleading. (Id., 1560). The district court ordered “both sides to

avoid speaking about any guns, firearms, weapons or 924(c)’s during

their closing arguments,” because that’s not “what this case is about

and it could inflame or distract the jury.” (Id., 1560–61). Liggins did not

object. (Id., 1561).

      But now, Liggins argues that this ruling violated his right to a fair

trial because the district court improperly prohibited his attorney from

exploring Jiminez’s “motivation to lie” during closing argument. (Def.

Br. at 42). But Liggins did not object when the district court limited the

scope of the parties’ summations, and never made this argument below,

so this Court reviews it now only for plain error. See Puckett, 556 U.S.

at 135–36.

      What’s more, Liggins’s characterization of the record doesn’t

square with what actually happened. By suggesting that Jiminez may

have been facing a § 924(c) charge, Liggins opened the door for the

government to clarify that he—and not Jiminez—was home with the

guns and drugs, and that Liggins may have committed additional

crimes beyond those alleged in the indictment. (R.135: Tr., 1560–61).

Allowing the government to correct the record would have hurt Liggins.
                                     58
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 67




To protect Liggins, the district court was right not to “open things up

that I don’t want to open up.” (Id., 1541). A trial judge has the

responsibility of assuring “that the issues are not obscured and that the

testimony is not misunderstood.” United States v. Hickman, 592 F.2d

931, 933 (6th Cir. 1979); United States v. Hynes, 467 F.3d 951, 958 (6th

Cir. 2006). And the logical implication of refusing the government’s

request to present rebuttal evidence was that Liggins should not be

permitted to make his misleading argument to the jury.

     Liggins’s attorney was also given ample opportunity to explore

Jiminez’s bias and any alleged “motivation to lie” in closing argument.

During his summation, defense counsel emphasized that Jiminez was

an “informant,” and that the jurors should take what she has to say

“with caution and care” because she’s “going to get a reduced sentence”

and is “going to go home on the recommendation of the government for

what [she] told you.” (R.136: Tr., 1603–04). Moments later, he reiterated

that she was “immunized” “against” “being prosecuted again for

anything in this case.” (Id., 1610). He questioned whether she was

believable, and whether the jurors would really rely on her in making

an important decision in their lives. (Id., 1619, 1621). And he reiterated
                                     59
         Case: 22-1236     Document: 26    Filed: 12/14/2022   Page: 68




that her plea agreement “says only for money laundering,” and doesn’t

take into account that she was also part of a drug trafficking

organization that involved Mexico, Phoenix and other states. (Id., 1621).

Given those opportunities, Liggins cannot show plain error in the

district court’s decision to prevent him from misleading the jury about

the search, especially after the court protected him from the admission

of inculpatory evidence.

     Liggins offers no cases holding otherwise. He does cite Herring v.

New York, 422 U.S. 853 (1975) and Davis v. Alaska, 415 U.S. 308

(1974), but they both cut against him.

     In Herring, 422 U.S. at 863, the Supreme Court held that a state

court rule was unconstitutional because it permitted a judge presiding

over a criminal bench trial “to deny absolutely the opportunity for any

closing summation at all.” But otherwise, so long as the trial court

allows closing arguments, it has significant discretion in “limiting the

scope of closing summations.” Id. at 862. The district court’s decision

here fell well within that standard.

     Davis does not help Liggins either. It stands only for the general

proposition that “[c]ross-examination is the principal means by which
                                      60
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 69




the believability of a witness and the truth of [her] testimony are

tested,” because it can reveal “possible biases, prejudices, or ulterior

motives of the witness as they may relate directly to issues or

personalities in the case at hand.” 415 U.S. at 316. Here, Liggins got his

chance to cross-examine Jiminez. Under questioning from Liggins’s

attorney, Jiminez admitted that she previously came to Detroit “to pay

a bribe to somebody to not provide information to law enforcement.”

(R.134: Tr., 1290). She had been “under investigation as the operator of

a drug trafficking organization” in Arizona, but “got a plea deal with the

government” that limited her exposure to prison to 37 months and “had

nothing to do with drugs.” (Id., 1292–93). Instead, she was permitted to

plead guilty to money laundering and “got a deal” resulting in less jail

time. (Id., 1295). She also admitted that she met with the government

prior to testifying. (Id., 1302–03). Far from running afoul of Davis, this

record establishes that Liggins was given ample opportunity for cross-

examination here.

     Finally, even assuming the court’s limitation on closing argument

was misplaced, Liggins cannot show a negative effect on his substantial

rights. Defense counsel hammered home that Jiminez got a significant
                                     61
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 70




break with her negotiated money laundering plea deal because she was

also “the operator of a drug trafficking organization.” (Id., 1290). It is

unlikely that adding another potential charge on top of the others

already discussed would have tipped the balance for the jurors in

Liggins’s favor. Liggins’s lawyer had already furnished them with

considerable evidence that Jiminez avoided more serious drug charges.

But even with this information concerning Jiminez’s potential bias and

purported “motivation to lie,” the jury appears to have credited her

testimony anyway.

V.   Liggins’s ineffective-assistance-of-counsel claims should be        left
     for another day.

     Liggins scatters allegations of ineffective assistance of counsel

throughout his brief, but none of those allegations are sufficiently

developed for review on direct appeal. (See, e.g., Def. Br. at 17, 29, 39–

42, 46). “As a general rule, a defendant may not raise ineffective

assistance of counsel claims for the first time on direct appeal, since

there has not been an opportunity to develop and include in the record

evidence bearing on the merits of the allegations.” United States v.

Tucker, 90 F.3d 1135, 1143 (6th Cir. 1996). Rather, the “customary


                                     62
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 71




procedure” is to permit the defendant to raise his ineffectiveness of

counsel claim “in a proper post-conviction proceeding under 28 U.S.C.

§ 2255.” Id. Liggins has not established any basis for this Court to

deviate from this customary procedure, and his arguments are better

suited for resolution with a fully developed record through a § 2255

motion.

                               Conclusion
     The judgment should be affirmed.

                                    Respectfully submitted,

                                    Dawn N. Ison
                                    United States Attorney


                                    /s/ Erin S. Shaw
                                    Erin S. Shaw
                                    Assistant United States Attorney
                                    Eastern District of Michigan
                                    211 West Fort Street, Suite 2001
                                    Detroit, MI 48226
                                    (313) 226-9182
                                    erin.shaw@usdoj.gov

Dated: December 14, 2022




                                     63
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 72




             Certificate of Compliance with Rule 32(a)
     This brief complies with the type-volume limitation of Federal

Rule of Appellate Procedure 32(a)(7)(B) because, excluding the parts of

the brief exempted by Rule 32(f), it contains 11,424 words. This brief

complies with the typeface requirements of Rule 32(a)(5) and the type-

style requirements of Rule 32(a)(6) because it has been prepared in a

proportionally spaced typeface using Microsoft Word in 14-point

Century Schoolbook.

                                        /s/ Erin S. Shaw
                                        Assistant United States Attorney

Dated: December 14, 2022




                                    64
          Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 73




                          Certificate of Service
     I certify that on December 14, 2022, I caused this Brief for the

United States to be electronically filed with the Clerk of the United

States Court of Appeals for the Sixth Circuit using the ECF system,

which will send notification of the filing to the following attorney of

record:

                               Wade G. Fink



                                         /s/ Erin S. Shaw
                                         Assistant United States Attorney




                                     65
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 74




                  Relevant District Court Documents
     The United States of America designates as relevant these

documents in the district court’s electronic record, Eastern District of

Michigan case number 2:18-cr-20071:

Record
                      Document Description                    Page ID Range
No.
1         Indictment                                          1–2

10        Appearance                                          14

19        Stipulation                                         40–44

20        Stipulation                                         45–50

21        Stipulation                                         51–56

28        Stipulation                                         136–41

32        Stipulation                                         151–56

33        Letter                                              157

34        Letter                                              158–59

35        Motion to Withdraw as Counsel                       161–65

38        Order                                               169–70

39        Appointment Order                                   171

40        Order                                               172–77

42        First Superseding Indictment                        180–82

47        Audio File of Arraignments                          n/a


                                    66
         Case: 22-1236    Document: 26    Filed: 12/14/2022   Page: 75




Record
                        Document Description                   Page ID Range
No.
          Acknowledgment of First Superseding
48                                                             215–16
          Indictment
49        Stipulation                                          217–20

51        Letter                                               222–24

52        Motion to Withdraw as Counsel                        226–28

55        Appearance                                           247–48

56        Order                                                249–51

71        Appearance                                           354–55

80        Motion Hearing Transcript                            391–99

88        Trial Brief                                          432–47

94        Motion for Recusal                                   470–82

96        Order Denying Motion for Recusal                     494

101       Jury Verdict Form                                    620–21

110       Motion for New Trial                                 649–54

115       Response to Motion for New Trial                     661–68

116-5     Exhibit                                              704

117       Order Denying Motion for New Trial                   707–10

118       Presentence Investigation Report                     n/a

123       Defendant’s Sentencing Memorandum                    786–89

124       Judgment                                             790–96

125       Notice of Appeal                                     797
                                     67
         Case: 22-1236   Document: 26    Filed: 12/14/2022   Page: 76




Record
                     Document Description                     Page ID Range
No.
127       Status Conference Transcript                        799–810

128       Status Conference Transcript                        811–23

129       Motion to Withdraw Transcript                       824–30

130       Final Pretrial Conference Transcript                831–47

131       Final Pretrial Conference Transcript                848–77

132       Trial Transcript                                    878–1073

133       Trial Transcript                                    1074–1212

134       Trial Transcript                                    1213–1403

135       Trial Transcript                                    1404–1564

136       Trial Transcript                                    1565–1671

137       Sentencing Transcript                               1672–1700

138-2     Gov. Exhibit 14: Instagram Messages                 1704–28
          Gov. Exhibit 15: Dehaven Murphy Plea
138-3                                                         1729–50
          Agreement
          Gov. Exhibit 16: Dehaven Murphy
138-4                                                         1751–55
          Cooperation Agreement
          Gov. Exhibit 32: Luz Jiminez Plea
138-5                                                         1756–74
          Agreement
          Gov. Exhibit 33: Luz Jiminez Cooperation
138-6                                                         1775–78
          Agreement




                                    68
